Case 8-18-78265-reg Doc 17-2 Filed 01/15/19 Entered 01/15/19 15:40:05

UNITED STATES BANKRUPT_CY COURT
EASTERN DISTRICT OF NEW YORK

__________________________________________________________ X
In Re: Chapter 7
Darnianos Loizou and Karen S. Schmermund Case No. 818-78265-A736
a/k/a Karerl S. Loizou,

Debtor. Affldavit
__________________________________________________________ X

STATE OF NEW YORK )
clouer or NAssAU § SS':

Marc A. Pergament, being duly sworn, deposes and says:

1. l am an attorney at law admitted to practice before this Court, and am a
member of the firm of Weinberg, Gross & Pergarnent _LLP, Which firm maintains offices at 400
Garden City Plaza, Suite 403, Garden City, NeW York 11530.

2. Weinberg, Gross & Pergament LLP is experienced and qualified to represent
Marc A. Pergarnent as Trustee in this case under Chapter 7 of the Bankruptcy Code.

3. To the best of my knowledge, neither I nor Weinberg, Gross & Pergament
LLP have any connection With the Debtor, their creditors, or any other party in interest or their
respective attorneys or accountants

4. To the best of my knowledge, neither l nor Weinberg, Gross & Pergarnent
LLP have or represent any interest adverse to the Debtor or the Estate in the matters upon Which the
firm of Weinberg, Gross & Pergarnent LLP is to be engaged

5. Based upon the foregoing, I believe the firm of Weinberg, Gross &

Pergament LLP is a “disinterested person” Within the meaning of Section 101 of the Bankruptcy

Code.

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6. l am the attorney Who will bear primary responsibility for the representation
whose authority is sought herein.

7. I have read and am generally familiar With the Title ll, United States Code,
the Federal Rules of Bankruptcy Proced_ures and the Local Rules of the United States Banl<ruptcy
Court for the Eastem Distriet of New Yorl<.

8. l am competent to. represent the interests of the Trustee in all proceedings
now pending or Which may reasonably be expected to be pending in this Court in the foreseeable
future

9. I have advised the Trustee of the firm’s willingness to serve as his counsel
under general retainer based on time and standard billing charges Which are $575.00 per hour for

partners, $425.00 to $525.00 per hotu' for associates and 105.0() per hour for paralegals

 

Marc Pi. Pergament

SWorn to before me this
15th day of January, 2019.

    

OT Y PUBLIC

Ja ueline Sullivan
Notary Piig\ic. State of New ¥0¢|<
H istration No. 01 SU6356566

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